To:        Maria Suarez[Msuarez@sgws.com]
Cc:        Case 2:19-cv-07271-GRB-LGD
           Elizabeth                            Document
                     Toohig[etoohig@southernwine.com]          39-23 Filed 01/03/23 Page 1 of 2 PageID #: 510
From:      John Wilkinson[jwilkinson@southernwine.com]                                                 EXHIBIT 21
Sent:      Tue 3/21/2017 10:04:10 PM (UTC)
Subject:   PIP meeting notes 2/14/2017

 Maria,
 This is to review what we met about and discussed with Tonisha today.
     1. ZY process was in good shape until today. It will take to the end of the day to clean up. This was caused by a lack of
          manpower in the bottle room creating many one sided adjustments because we did not pick with headsets. These needed
          to be corrected by the end of the day so we could go to production. ( what we didnt review until the 2/15/17 was that in
          correcting these you did it incorrectly--- Eric and Tonisha corrected on 2/15/17) ( You need to ask for help if you are
          uncertain on how to correct)--- Instead of CCing the items and making one sided adjustments you needed to make ZY
          adjustments and make sure we didnt affect Sapphire)
     2. POs & Transfer InvoicesThey are currently in decent shape. Laura & Debra in receiving are behind and causing this
          report/process to be behind. Return totes (99) from July  December need to be closed out per Tonisha. All Totes 1,2,3
          that belong to the bottle room need to be reviewed. They are located under the mezzanine.
     3. Return invoices need to be cleaned up by customer service. You were informed that you need to be more aggressive in
          sending out emails to make sure CS is doing their jobs properly
     4. Stock Locator- you did a lot of clean-up over the weekend. Invt research tote(bucket) is starting to grow to many more
          items. Please continue to research and drive the number of skus down. Tonisha stated that they are growing quicker than
          they are being found and corrected.
     5. Task ManagementDates 2/1-2/7 were cleaned out by Tonisha because they were old. Tonisha stated that its OK to run
          the SCI report to review these tasks. The reason you gave for falling behind was that the C21 pick module had issues with
          WIFI and that was most of the counts that were not made or adjusted. After our meeting I spoke with IT and they were
          addressing the issue. Tonisha stated that task management cycle counts are current and up to date. We discussed get the
          C41 pick mod cycle counted daily in order to find out which employees are not following the replen process properly. We
          all agreed that we believe cases are coming off the receiving dock at night and going straight to the pick mod. I asked you
          to research and prove.
     6. Wave management  2 directs from Friday shortages were all that were open. You stated that you needed Jens help for
          research, but she was out.
     7. Pick/Pack dailyIt is current and being followed up on
     8. Reconciliation reportHas become your responsibility and must be kept reconciled
     9. EmailsYou requested that you get assistance from your team as they are overwhelming. We agreed.
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From:      John Wilkinson[jwilkinson@southernwine.com]
Sent:      Tue 3/21/2017 10:01:07 PM (UTC)
Subject:   PIP review from 2/7/17

 Maria,
 
 This is to review what we discussed in our meeting today with Tonisha.
 Receiving POs & transfers/Returns invoices
 You stated that POs are in good shape. There are some status 40 receipts from Nov & Dec but they are being worked on by
 accounting and that your emails are not always responded to. Tonisha stated that she will help you in that area as she has a good
 relationship with Jackie. The goal is to have this completed by our next meeting, if not complete I will speak to Tom Romeo to
 ensure you are receiving the necessary support.
 Returns from Sept & Nov still need to be cleaned up. These are issues of totes that need a lot of research before you can close
 them. Tonisha is going to print a report for you from Sept thru Dec. 31 st in order to assist in the cleanup. You stated that this should
 be cleaned up in about a week. 
 Task management- you stated is current. Last week Steve Fennelly cancelled some old cycle count tasks and brought you to current
 (2/2 & 2/3). You stated that you are now current and the assistance that you received from warehousemen to move pallets was
 helpful to keeping current. Please makes sure that this continues to be current. Going forward this needs to stay current so Steve
 or Tonisha do not have to delete count tasks.
 
 Cycle counts are up to date and current and scrubbing that was started last Friday 2/3 is continuing.
 Wave management is up to date and current. Still having issues with transfers in the receiving department but they are being
 addressed when they occur. (short shipping and over shipping)
 Pick/pack review needs to be handled daily and you are having difficulty getting to it daily, but it is not in bad shape I suggested
 that you work some extra hours in order to complete the task daily.
 Reconciliation report is current as of 2/6/17 and there is just one issue that you will be able to resolve on your own. I expect that
 will be completed by tomorrow.
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